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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA,

     v.
 WESLEY MACGREGOR,                                       Crim. No. 19-10141-LTS-2

                Defendant.




 MACGREGOR’S MEMORANDUM IN SUPPORT OF HIS MOTION TO DISMISS THE
   INDICTMENT UNDER FEDERAL RULE OF CRIMINAL PROCEDURE 12(B)

                                        INTRODUCTION

       Wesley MacGregor, a former employee of the Massachusetts Trial Court, was charged

with obstruction of justice and conspiracy to obstruct justice, for conduct arising out of his duties

as a state court officer. The indictments in this case charge MacGregor federally for alleged

actions that fall wholly within his scope of duties as a state court officer. The indictments which

are the subject of this motion, allege that Court Officer MacGregor conspired with Judge Shelly

Joseph and an unnamed defense attorney to enable an undocumented person to evade a civil

detainer issued by U.S. Immigration and Customs Enforcement (“ICE”). According to the

indictment, Court Officer MacGregor’s conduct in opening a back door to the courthouse

comprised the crimes of (1) obstruction of justice, 18 U.S.C. § 1512(c)(2); obstruction of a

federal proceeding, id. § 1505; and § 1505 (3) conspiracy to obstruct justice, id. § 1512(k).

       This prosecution is contrary to the plain language of the federal obstruction statutes and

the fundamental constitutional principles that underlie our federal system of dual sovereignty.

This prosecution also violates due process protections against criminalizing conduct as to which

no one—let alone a state court officer —could possibly have had fair notice. No one would have


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envisioned that a statute that prohibits “corruptly obstructing an official proceeding” would have

been applied to the way in which a state court employee conducts his daily tasks. Criminalizing

this state conduct violates the Tenth Amendment’s “anti-commandeering” principle, recently

reaffirmed in Murphy v. NCAA, 138 S. Ct. 1461 (2018). The federal government certainly can

request that a state court officer surrender a state court custody to a civil immigration warrant,

but the government cannot demand such action, and certainly should not criminalize the state

court officer’s conduct in releasing the state court custody prior to the Department of Homeland

Security’s execution of their civil immigration warrant.

       Court Officer MacGregor denies the allegations in these indictments and files this Motion

to Dismiss pursuant to Federal Rule of Criminal Procedure 12(b) to raise legal challenges to the

face of the indictment because the question here is one of law, not fact. Regardless of whether

the government’s version of facts in these indictments were correct, or conversely, whether

MacGregor’s Grand Jury testimony is the correct version of facts, under either scenario, the acts

alleged in the indictments do not qualify as obstruction of justice, or obstruction of a federal

proceeding, within the meaning of 18 U.S.C. §§ 1505 and 1512(c)(2)—and if they did,

MacGregor’s prosecution would violate bedrock constitutional principles.

                                         BACKGROUND

       A.      Legal Framework

       Under our federal system, “both the National and State Governments have elements of

sovereignty the other is bound to respect.” Arizona v. United States, 567 U.S. 387, 398 (2012).

While the federal government has “broad, undoubted power over the subject of immigration and

the status of aliens,” id. at 394, the states retain primary authority for “enforcing the criminal

law,” including the administration of their own criminal-justice systems, United States v. Lopez,

514 U.S. 549, 561 n.3 (1995). Federal law defines the respective roles and responsibilities of the


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federal and state governments in contexts where these powers intersect. Enforcement of the

immigration laws has been delegated by Congress to the Department of Homeland Security

(“DHS”); adjudication of immigration proceedings to the Department of Justice. Arizona, 567

U.S. at 397. Thus, Congress delegated to DHS—specifically, ICE an agency housed within it—

the task of “conduct[ing] criminal investigations involving the enforcement of immigration-

related statutes,” id., including the arrest of persons believed to be in the United States

unlawfully. By contrast, Congress delegated to the Justice Department responsibility for

conducting removal proceedings; in these proceedings, a DHS attorney acts as a prosecutor,

arguing before an immigration judge employed by the Justice Department, with authority to issue

final orders of removal. See 8 U.S.C. § 1103(g).

       In terms of the states’ role in immigration enforcement, although ICE may seek the

voluntary cooperation of state and local governments in enforcing federal immigration law, see

id. at 408-409; 8 U.S.C. § 1357(g), it may not—consistent with the Tenth Amendment, see

Printz v. United States, 521 U.S. 898, 935 (1997)—command state and city officers to provide

such assistance. States, cities, and their officers retain the option to “decline to administer”

federal immigration law. New York v. United States, 505 U.S. 144, 176-77 (1992).

       That the federal government is limited to the voluntary cooperation of state officials in

enforcing immigration law was recently reemphasized by the Massachusetts Supreme Judicial

Court in Lunn v. Commonwealth, 477 Mass. 517 (2017). Lunn concerned whether state judicial

officers had the authority to hold persons who would otherwise be released from state custody on

a “civil immigration detainer”—a request from the federal government to hold such a person for

up to 48 hours to allow ICE to apprehend him or her. Id. at 518; see 8 C.F.R. § 287.7(a). The

SJC held that state judicial officers lacked that authority. Id. at 519. “Federal immigration




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detainers,” the SJC explained, “by their express terms[,] are simply requests. They are not

commands, and they impose no mandatory obligations on the State authorities to which they are

directed.” Id. at 526. That conclusion followed, the SJC continued, from the Tenth Amendment,

which “prohibits the Federal Government from compelling States to employ their resources to

administer and enforce Federal programs,” id. at 526-527, as well as the text of the relevant

regulations. Accord Philadelphia v. Att’y Gen., 916 F.3d 276, 281 (3d Cir. 2019). The SJC

further held that no other law, state or federal, permitted Massachusetts judicial officers to hold

in custody people who are suspected only of violating federal civil immigration law. Id. at 537.

After Lunn, such officers may not hold such people “beyond the time that [they] would otherwise

be entitled to be released from State custody.” Id.

       In the wake of Lunn, the Massachusetts state courts adopted a policy generally declining

to assist the federal government in enforcing federal immigration law. See Memorandum from

Chief Justice Paula M. Carey, Policy and Procedures Regarding Interactions with the Department

of Homeland Security (Nov. 10, 2017) (Exhibit A) (“Policy”).1 This policy memorandum binds

all state-court employees, including court officers, like MacGregor.

           The memorandum implements Lunn by instructing employees not to “hold any

individual who would otherwise be entitled to release based solely on a civil immigration

detainer or civil immigration warrant.” Id. at 1. It directs court employees to generally treat

DHS officers “in the same manner” as members of the public, and states that a person who is

brought into court in custody and then released shall be processed “in the normal course,” even if

he or she “is subject to a civil immigration detainer or warrant.” Id. at 2. Although it sets out a


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          The Court may take judicial notice of the policy in adjudicating this motion to dismiss,
as it was incorporated by reference into the Indictment. See Indictment ¶12; Freeman v. Town of
Hudson, 714 F.3d 29, 36 (1st Cir. 2013).


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procedure by which DHS officers may obtain access to the courthouse’s “holding cell area in

order to take custody of” a person pursuant to a detainer, such access is contingent on the DHS

officer making such a request. Id. at 2-3. The policy provides, as a general matter, that DHS

officials may enter and conduct activities in state courthouses only if “their conduct in no way

disrupts or delays court operations[] or compromises court safety.” Id. at 2. Pursuant to this

policy, at the time of the events alleged in the indictment, the Newton District Court had

established a policy excluding from state courtrooms DHS officers present to execute

immigration detainers. Cf. Ryan, 382 F. Supp. 3d at 160-161 (describing evidence that DHS

policies authorizing courtroom arrests have led to “victims and witnesses … avoid[ing] using the

state courts, leading to a failure of state civil and criminal proceedings”).

       B.      Factual Background

       The indictments allege that on April 2, 2018, Wesley MacGregor conspired with Judge

Shelly Joseph and with an unnamed defense attorney to allow a state court detainee, identified as

A.S. in the indictment, to exit the courthouse from a door at the rear of the building, near the

lockup where his personal effects had been left prior to the hearing, rather than through the front

doors of the courtroom where ICE could have more easily apprehended him. Ind. ¶¶ 26-33.

       A.S. appeared before Judge Joseph on April 2, 2018 on charges of narcotics possession

and being a fugitive from justice. Ind. ¶ 6. After his arrest two days prior, A.S.’s fingerprints

were run through an ICE database, and ICE issued both a civil detainer and a civil immigration

warrant for his arrest. Id. at ¶¶ 6-8. The basis for the civil detainer and the civil warrant was

ICE’s belief that A.S. was previously removed from the United States and re-entered. Id. at ¶ 7.2


       2
          According to the indictment, the detainer “requested that Newton Police (i) notify ICE
prior to any release of A.S.; (ii) relay the Detainer to any other law enforcement agency to whom
Newton Police transferred A.S.; and (iii) maintain custody of A.S. for up to 48 hours for ICE to
take custody.” Id. at ¶ 8. Neither the detainer nor the warrant instructed state or local officers to

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       Both the assistant district attorney (“ADA”) and A.S.’s attorney raised serious questions

about A.S.’s identity. See Ind. ¶¶ 20-22.3 Specifically, the ADA and the defense attorney agreed

that there was insufficient evidence to proceed with the state fugitive-from-justice charge, which

would be dismissed. Id. at ¶ 22. The Commonwealth also agreed that it would not seek pretrial

confinement on the drug possession charge. Id. at ¶ 20. At that point, neither Judge Joseph nor

court officer MacGregor had the authority to detain A.S. See Lunn, 577 Mass. at 528-537.

       Judge Joseph, still on the bench, conferred with counsel about the prospect that ICE

might detain A.S. Ind. ¶ 20. The courtroom recording system captured part of the conversation

before Judge Joseph—according to the indictment—directed that the system be turned off for

approximately 52 seconds. Id. at ¶¶ 20-21. When it resumed, defense counsel asked to speak

with A.S. in the lockup with an interpreter, while he retrieved his personal property. Id. at ¶ 22.

       Then, according to the indictment, the following exchange occurred:

       Court Officer MacGregor: Is he released Mr. Clerk?

       Clerk: What’s that?

       Court Officer MacGregor: He’s released?

       Clerk: He is.

       Defense Attorney Yep.




take any action, nor could they have. See supra pp. 4-5; Lunn, 477 Mass. at 526 (“Federal
immigration detainers … are simply requests.”).
       3
          At a sidebar conference with Judge Joseph, the ADA said, “I don’t think it’s him.” The
defense attorney reported: “There’s 13 FBI numbers connected to this social. So something’s
bad with [unintelligible].” When the parties returned from sidebar, the defense attorney stated on
the record: “We don’t believe that this gentleman is the same gentleman as on the fugitive-from-
justice warrant.” The ADA agreed: “Your Honor, with the information I have, I don’t think
there is enough tying him to the Pennsylvania warrant.” Id. at ¶¶ 20, 22.


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       Judge Joseph: He is, Um, {Defense Attorney} asked if the interpreter can accompany him

       downstairs, um to further interview him.

       Defense Attorney: Yes, please.

       Judge Joseph: - and I’ve allowed that to happen

       (2:54 PM) Paragraph 22

       Immediately following this proceeding, the indictment alleges that MacGregor escorted

A.S. from Judge Joseph’s courtroom to the lockup together with the Defense Attorney and the

interpreter. The indictment alleges that once inside the lockup, MacGregor used his state issued

security pass to open the rear sally port exit and release A.S. out the sally port door in the back of

the courthouse. MacGregor does not dispute that he opened the sally port door and released A.S.

                                      LEGAL STANDARD

       Under Federal Rule of Criminal Procedure 12(b)(3), a defendant may “raise[] by pretrial

motion” any “defect in the indictment or information, including … failure to state an offense.”

Fed. R. Crim. P. 12(b)(3)(B)(v). See United States v. Brissette, 919 F.3d 670, 675-76 (1st Cir.

2019); United States v. Musso, 914 F.3d 26, 29-30 (1st Cir. 2019). Such a motion is the proper

way to test the sufficiency of an indictment “as a matter of law.” Id. at 30; see Brissette, 919

F.3d at 676 (“[A] pretrial dismissal is essentially a determination that, as a matter of law, the

government is incapable of proving its case beyond a reasonable doubt.” (emphasis in original)).

On a motion to dismiss under Rule 12(b), “[t]he indictment’s allegations are assumed to be true,”

United States v. Stewart, 744 F.3d 17, 21 (1st Cir. 2014), and the court asks whether, “[o]n the

facts presented,” the indictment is sufficient to state an offense, Musso, 914 F.3d at 30.




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                                          ARGUMENT

I.     THE INDICTMENT DOES NOT STATE AN OFFENSE UNDER SECTION 1505
       OR SECTION 1512

       Here, the text of the statutes plainly does not criminalize Court Officer MacGregor’s

conduct. The plain text of the statute coupled with the conduct alleged in the indictment fail to

establish that Court Officer MacGregor violated those statutes in three distinct ways. First, §

1505 and § 1512(c)(2) each criminalize only “corrupt” behavior, and the indictment does not

allege any corrupt intent on the part of Court Officer MacGregor. Second, the two statutes

likewise apply only where a defendant’s conduct obstructs a “proceeding,” and the execution of

a civil immigration warrant does not qualify. Finally, § 1512(c)(2) does not apply here at all, as

it is limited to crimes relating to acts of evidence impairment. The indictment thus fails to state

an offense under both 8 U.S.C. §§ 1505 and 1512(c)(2).4

       A.      Court Officer MacGregor Did Not Act “Corruptly” For The Purposes Of
               Sections 1505 and 1512(c)(2)

     First, both obstruction statutes that Court Officer MacGregor is charged with violating

apply only to those who act “corruptly.” 8 U.S.C. §§ 1505, 1512(c)(2). But the indictment does

not allege—beyond a bare recitation of the statute—that Court Officer MacGregor acted

corruptly within the meaning of the statutes.

     Both obstruction statutes limit their application to persons who act “corruptly.” See 8

U.S.C. §§ 1505, 1512(c)(2).5 The statutes define that term—at least as it is used in § 1505—to


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         Because the indictment fails to state an offense under the substantive crimes with which
Court Officer MacGregor is charged, it necessarily fails to state an offense under § 1512(k) and §
2, which allege a conspiracy to commit the substantive offenses. See Krulewitch v. United
States, 336 U.S. 440, 447 n. 4 (noting that conspiracy involves a “criminal object”).
       5
         Section 1505 also makes it a crime to obstruct justice “by threats or force, or by any
threatening letter or communication.” 18 U.S.C. § 1505. The indictment does not allege any
such acts on the part of Court Officer MacGregor.


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mean “acting with an improper purpose, … including making a false or misleading statement, or

withholding, concealing, altering, or destroying a document or other information.” Id. § 1515(b).

Although the statute provides that this definition applies only to § 1505, courts have generally

read the term “corruptly” in § 1512(c)(2) to take essentially the same meaning: motivated by an

“improper purpose.” See, e.g., United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013);

United States v. Mintmire, 507 F.3d 1273, 1289 (11th Cir. 2007).6 These definitions impose a

high bar: As the Supreme Court has explained, the words “‘[c]orrupt’ and ‘corruptly’ are

normally associated with wrongful, immoral, depraved, or evil.” Arthur Andersen LLP v. United

States, 544 U.S. 696, 705 (2005). At the very least, that these statutes reach only those who act

“corruptly” limits the statutes’ application to those who are “conscious of their wrongdoing.” Id.

     The indictment entirely fails to allege that Court Officer MacGregor acted “corruptly.”

Setting aside the bare recitation of the statutory elements, see Ind. ¶¶ 38, 40, 42; United States v.

Murphy, 762 F.2d 1151, 1153 (1st Cir. 1985) (indictment must do more than “parrot[] the

statute”), the only reference made to motive in the indictment is in Paragraph 25, which alleges

that “[i]t was the object of the conspiracy to corruptly attempt to obstruct” an immigration

removal proceeding. Ind. ¶ 25. But this allegation likewise fails to shed light on how Court

Officer MacGregor is alleged to have acted “corruptly” on April 2, 2018.

     The indictment alleges that “defendant JOSEPH and the Defense Attorney discussed

devising a way to have A.S. avoid being arrested by the ICE Officer. Defendant JOSEPH



       6
         Section 1515(b) was enacted in 1996 with the express purpose of overriding the D.C.
Circuit’s decision in United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991), which gave the
term—as used in § 1505—a significantly narrower reading. The legislative history of the 1996
bill suggests that Congress specifically intended to “bring [§ 1505] back in line with other
obstruction statutes.” Hearing on S. 1734 Before the S. Comm. on the Judiciary, 104th Cong.,
2d Sess., at 5 (May 4, 1996) (statement of Sen. Levin).


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ordered that the ICE Officer be prevented from entering the downstairs Courthouse lockup area.

After ordering A.S.’s release, defendant JOSEPH ordered that A.S. be returned downstairs to the

lockup for the Defense Attorney to “further interview” A.S., which, in reality was a pretext to

allow A.S. to access the rear sally-port exit in order to avoid the ICE officer.” Ind. ¶¶ 30-32.

     The only conduct Court Officer MacGregor is alleged to have participated in is that “[o]nce

A.S. was returned downstairs to the lockup, defendant MACGREGOR used his security access

card to open the sally-port exit and release A.S. from the back door of the Courthouse, contrary

to NDC custom and practice.” Ind. ¶ 33. Therefore, the government’s theory appears to be that

Court Officer MacGregor acted “corruptly” merely by “preventing the ICE Officer from taking

custody of A.S” by opening the back sally port door, without even alleging Court Officer

MacGregor’s alleged conduct was for the purpose of assisting A.S. to avoid ICE. Instead, the

indictment simply alleges Court Officer took the action of opening the sally-port door knowing it

would “prevent[] the ICE Officer from taking custody of A.S.” Ind. ¶ 25. But the term

“corruptly” cannot be defined so broadly. See Arthur Andersen, 544 U.S. at 705 (contrasting the

term “knowing” with the term “corruptly”).

       B.      Court Officer MacGregor’s Alleged Actions Did Not Obstruct Or Interfere
               With A “Proceeding” For The Purposes Of Sections 1505 and 1512(c)(2)

       The indictment fails to state an offense in a second way: It does not sufficiently allege

that court Officer MacGregor obstructed a “proceeding”—a required element of both statutes.

       Section 1505 applies only to a person who “corruptly obstructs, influences, or impedes …

[a] pending proceeding … before any department or agency of the United States.” 18 U.S.C. §

1505 (emphasis added). The “proceeding” that Court Officer MacGregor is alleged to have

obstructed was “a federal immigration removal proceeding before the … Department of




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Homeland Security.” Ind. ¶ 42. But as the indictment’s own allegations make clear, there was

no removal proceeding “pending” at the time of Court Officer MacGregor’s alleged conduct.

       Under the INA, the term “removal proceeding” has a specific meaning: a proceeding held

before “[a]n immigration judge”—a Justice Department employee—“for deciding the

inadmissibility or deportability of an alien.” 8 U.S.C. § 1229a(a)(1). The statute likewise

specifies when a removal proceeding is “[i]nitiat[ed]”: it is when “written notice” (known as a

“notice to appear”) is “given in person to [an] alien” informing him or her of various aspects of

the proceeding, including “[t]he nature of the proceedings” and “[t]he legal authority under

which the proceedings are conducted.” Id. § 1229(a)(1); see Pereira v. Sessions, 138 S. Ct.

2105, 2110-2111 (2018); 8 C.F.R. § 1003.14(a). Removal proceedings are thus analogous to

court proceedings, and they are triggered by the issuance of the “notice to appear”—itself

analogous to a charging document. But the allegations in the indictment make plain that, on the

morning of April 2, 2018, no such proceeding was extant. The indictment reflects that, as of

April 2, 2018, ICE had issued a federal immigration detainer and a civil immigration warrant for

A.S.’s arrest. Ind. ¶ 8. No “removal proceeding” was “pending.”7

       The government cannot escape that conclusion by attempting to recast the ICE agent’s

actions on April 2 as part and parcel of some broader, more nebulous “proceeding.” For one, and

contrary to the indictment, DHS does not conduct “federal immigration removal proceedings”;

the Justice Department does. See 8 U.S.C. § 1229a(a)(1). And even if the statutory scheme did


       7
          The indictment implies that A.S. may have been eligible for an expedited form of
proceedings in which the government simply reinstates a previously issued removal order. See
Ind. ¶ 8; see also 8 U.S.C. § 1231(a)(5). Even if true, the fact that ICE could have removed A.S.
from the United States without instituting removal proceedings hardly helps the government now
establish that Court Officer MacGregor obstructed a pending “federal immigration removal
proceeding.” Ind. ¶¶ 38, 40, 42. If no such proceeding would ever have occurred, one can
hardly say that Court Officer MacGregor obstructed such a proceeding.


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permit the government to recast the events of April 2, 2018—in essence, the execution of a civil

arrest warrant—as a “proceeding,” the case law would not. As multiple courts have held in the

context of both § 1505 and § 1512 charges, the word “proceeding”—at least as it is used in the

federal obstruction statutes—implies a formal, court-like proceeding, in the sense of “formal

appearances before a tribunal.” United States v. Ermoian, 727 F.3d 894, 899 (9th Cir. 2013);

accord United States v. Ramos, 537 F.3d 439, 462-463 (5th Cir. 2008). These courts have

correctly looked to the structure of the statute, and the context in which the word “proceeding”

appears, to conclude that Congress did not use the word in its “general sense,” but rather “as a

legal term.” Ermoian, 727 F.3d at 899; see also United States v. Higgins, 511 F. Supp. 453, 455-

456 (W.D. Ky. 1981) (consulting the legislative history of § 1505 to reach the same conclusion).

Thus understood, the word “proceeding” does not encompass “a mere criminal investigation,”

Ermoian, 727 F.3d at 900, and neither does it include the execution of an ICE arrest warrant.

Accord United States v. Kelley, 36 F.3d 1118, 1127 (D.C. Cir. 1994) (“For an investigation to be

considered a proceeding … it must be more than a mere police investigation….”).

       For similar reasons, the indictment fails to state an offense under § 1512(c)(2). That

statute makes it a crime to “obstruct[], influence[], or impede[] any official proceeding.” 8

U.S.C. § 1512(c)(2). The term “official proceeding” is defined elsewhere to include, as relevant

here, “a proceeding before a Federal Government agency,” id. § 1515(a)(1)(A), and again the

indictment specifies the “proceeding” that Court Officer MacGregor is alleged to have

obstructed: “a federal immigration removal proceeding before the United States Department of

Homeland Security.” Ind. ¶¶ 40, 42. Section 1512(c)(2) is limited to “official proceedings,”

and—for the same reasons as above—the execution of an arrest warrant does not qualify as an

official proceeding. See Ermoian, 727 F.3d at 899; Ramos, 537 F.3d at 462-463.




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        Judge Ponsor’s decision in United States v. Binette, 828 F. Supp. 2d 402 (D. Mass. 2011),

is instructive. In Binette, the Securities and Exchange Commission began an investigation into

the defendant’s purchase of stock options. Id. at 403. When the defendant lied to the SEC

investigators, they charged him with violating § 1512(c)(2). Id. at 402. The question for the

Court was whether the investigation qualified as an “official proceeding” under § 1512(c)(2). Id.

at 403. Judge Ponsor concluded that it did not, and dismissed the charge. Id. at 404. Relying on

the Fifth Circuit’s decision in Ramos, he reasoned that the statutory definition “indicates that it

‘involves some formal convocation of the agency in which parties are directed to appear’” and

was used throughout the statute “in ‘a manner that contemplates a formal environment in which

persons are called to appear or produce documents.’” Id. (quoting Ramos, 537 F.3d at 462-63).

The investigation at issue, the court explained, “was not an official proceeding as contemplated

by the statute,” especially in light of its informal nature: In the kind of investigation at issue in

Binette, the SEC could not “compel the production of documents and witnesses through

subpoenas,” as could a court. Id. The same is self-evidently true of an ICE officer who is

executing a civil immigration warrant; such an officer does not have the power to compel

process. The allegations in the indictment make clear that the “proceeding” that Court Officer

MacGregor is alleged to have obstructed was not a formal convocation but a law-enforcement-

style effort to apprehend and detain someone whom ICE suspected to be undocumented. That

process does not qualify as a “proceeding” under the statute.

        C.      Section 1512(c)(2) Is Limited To Crimes Relating To Acts of Evidence
                Impairment

        Finally, and wholly independently, the § 1515(c)(2) charge should be dismissed on the

ground that that section was never meant to reach conduct like that charged in the indictment; it

was intended to reach only crimes relating to acts of evidence impairment.



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       Unlike § 1505, which generally prohibits the obstruction of justice during a pending

proceeding before a federal agency, § 1512, by its text, criminalizes a number of specific acts

that center on (as the title of the provision indicates) “[t]ampering with a witness, victim, or …

informant.” The statute criminalizes, for instance, the killing of a witness, 8 U.S.C. § 1512(a);

the destruction or alteration of documentary or physical evidence, id. § 1512(c)(1); and the

harassing of a witness in order to hinder his or her testimony, id. § 1512(b). Section 1512(c),

which Court Officer MacGregor is charged with violating, was added to the statute in 2002 as

part of the Sarbanes-Oxley Act. See Pub. L. No. 107-204, tit. XI, § 1102, 116 Stat. 807. Its

legislative history indicates that it was intended to close a perceived loophole with respect to

“document shredding.” 148 Cong. Rec. S6545 (July 10, 2002) (Sen. Lott); see also id. at S6549-

S6550 (Sen. Hatch). And the first subsection of § 1512(c), as indicated above, reflects that

purpose: It makes it a crime to “alter[], destroy[], multilate[], or conceal[] a record, document, or

other object … with the intent to impair the object’s integrity or availability for use in an official

proceeding.” 8 U.S.C. § 1512(c)(1).

       Section 1512(c)(2)—the subsection which Court Officer MacGregor is charged with

violating—is drafted more expansively. That section makes it a crime to “otherwise obstruct[],

influence[], or impede[] any official proceeding.” Id. § 1512(c)(2). But, as the Supreme Court

has instructed, when Congress sets out a list of specific acts that constitute a crime, and then

follows that enumeration with a “residual” clause (like § 1512(c)(2)), the residual clause should

be read through the lens of the enumerated examples. See Yates v. United States, 135 S. Ct.

1074, 1085-1087 (2015); Begay v. United States, 553 U.S. 137, 142-143 (2008). As the Court

emphasized, if Congress meant the residual clause to wholly subsume the enumerated examples,

“it is hard to see why it would have needed to include the examples at all.” Id. at 142. The same




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is true of § 1512(c)(2): If that section applies to all “otherwise” obstructive acts, there would be

no need for the remainder of the statute. The proper reading is that § 1512(c)(2) is limited—like

the surrounding examples—to acts involving the destruction or impairment of evidence. Indeed,

the current Attorney General of the United States has articulated exactly this position. See

Memorandum from Bill Barr to Deputy Att’y Gen. Rod Rosenstein at 2 (July 8, 2018), available

at https://bit.ly/2TQIWNq (warning that the government should not give § 1512(c)(2) an

“unbounded interpretation” by applying it outside evidence-impairment context and “to facially-

lawful acts taken by public officials exercising … their discretionary powers”).

       In short, the plain language of the statute makes clear that Congress did not intend that

the conduct alleged in the indictment falls within the sweep of either § 1505 or § 1512(c)(2), and

certainly did not intend that these statutes could be used to force a state court officer to help the

federal government enforce federal immigration law.

II.    THE APPLICATION OF THE FEDERAL OBSTRUCTION STATUTES TO
       COURT OFFICER MACGREGOR WOULD VIOLATE THE CONSTITUTION

       A.      Multiple Canons of Statutory Construction Require The Court To Construe
               The Obstruction Statutes In A Manner Consistent With The Constitution

       To the extent there is any ambiguity as to whether the obstruction statutes encompass

alleged interference with a federal immigration investigation, longstanding substantive canons of

statutory interpretation dictate the same result: The statutes do not apply to the crimes that Court

Officer MacGregor is alleged to have committed.

       To the extent any doubt remains about the meaning of the statute, as the Supreme Court

emphasized earlier this year, the rule of lenity instructs that “ambiguities about the breadth of a

criminal statute should be resolved in the defendant’s favor”—a rule “‘not much less old than’

the task of statutory ‘construction itself.’” Davis, 139 S. Ct. at 2333 (quoting United States v.

Wiltberger, 18 U.S. (5 Wheat.) 76, 95 (1820)). That principle carries additional force in the


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context of the obstruction-of-justice statutes, as the Supreme Court has emphasized. See, e.g.,

Arthur Andersen, 544 U.S. at 703-704 (“restraint in assessing the reach of a federal criminal

statute” is “particularly appropriate” in the obstruction context given the possibility that the

underlying conduct might be innocuous); see also Marinello v. United States, 138 S. Ct. 1101,

1106 (2018). Here, construing the federal obstruction statutes not to reach a state court officer’s

exercise of his daily duties comports with the fundamental purpose of that rule—the right of

individuals “to fair notice of the law.” Davis, 139 S. Ct. at 1333.

       B.   The Prosecution of Court Officer MacGregor Violates The Tenth
       Amendment

       To construe the federal obstruction-of-justice statutes to apply to a state court officer’s

failure to assist the federal government in enforcing a federal immigration detainer would plainly

violate the Tenth Amendment. The Amendment provides that “[t]he powers not delegated to the

United States by the Constitution, nor prohibited by it to the States, are reserved to the States

respectively, or to the people.” U.S. Const. amend. X. The Amendment operates both to limit

Congress’s powers to those enumerated in the Constitution, and to preserve the autonomy and

independence of the states. In recognition of this basic principle, the Supreme Court has held

that the federal government may not “command the States’ officers, or those of their political

subdivisions, to administer or enforce a federal regulatory program,” Printz v. United States, 521

U.S. 898, 935 (1997)—thus guaranteeing the States the “critical alternative” of “declin[ing] to

administer” those programs. New York v. United States, 505 U.S. 144, 176-177 (1992). Even if

the government were able to prove the facts alleged in the indictment at trial, the prosecution of

Court Officer MacGregor would amount to an attempt to punish him for what the government

itself views as his discretion – and to coerce other state actors into making the opposite decision.




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       It is indisputable that the federal government cannot command Court Officer MacGregor

or any other state actor to assist in enforcing federal immigration law. The basic teaching of

Printz and New York is that the federal government may not “command the States’ officers” to

assist in the administration of a federal regulatory program. Printz, 521 U.S. at 935. See also

M.G.L. c. 221, § 70A (designating court officers as members of state judicial branch with police

powers within assigned court). As the federal government has conceded in many contexts, the

“anti-commandeering” principle prohibits it from directing state officers to assist in the

enforcement of federal immigration law. See Lunn, 477 Mass. at 526-27; Defs.’ Opp. to Pls. Mot.

For Prelim. Injunction at 18, Ryan v. ICE, 382 F. Supp. 3d 142 (D. Mass. 2019) (ECF No. 28)

(explaining that “ICE courthouse arrests do not require any action by state officers’ and federal

policies do not “compel[] employees of the state criminal justice or judiciary systems to take

action or refrain from taking action at all”). The federal government thus could not have

commanded Court Officer MacGregor to release A.S. into its custody on April 2, 2018.

       It is likewise clear that the federal government cannot achieve the same result by casting

a command as a prohibition. That is the express holding of the Supreme Court’s most recent

anti-commandeering decision in Murphy. The question in that case was whether a federal statute

that prohibited states from authorizing certain forms of gambling violated the anti-

commandeering doctrine. See Murphy v. NCAA, 138 S. Ct. 1461, 1472-73 (2018). The Supreme

Court held that it did, describing the difference between a command and a prohibition as an

“empty” one. Id. at 1478. In the Court’s view, the anti-commandeering rule means only that the

federal government may not “dictate[]” what a state “may and may not do.” Id. After Murphy,

then—if not before—it is clear that Congress could not enact a statute making it a federal crime

to decline to assist ICE in enforcing federal immigration law. That would amount to an end run




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around the principle of New York and Printz: Congress would be seeking to achieve via a

prohibition what it could not do via a direct command.

       But that is exactly the purpose and effect of Court Officer MacGregor’s prosecution: to

punish him for doing something the federal government cannot require him to do—assist the

federal government in enforcing federal immigration laws. According to the government’s own

allegations, Court Officer MacGregor exercised what the Supreme Court has described as the

“critical alternative” guaranteed to state and local officers by the Tenth Amendment: the option

of “declin[ing] to administer” a federal program. New York, 505 U.S. at 176-77. The Court has

repeatedly explained that the federal government may not strip states and localities of that

prerogative. See Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 587 (2012) (Tenth

Amendment ensures states “may not choose to participate” in a federal program); Printz, 521

U.S. at 909-910 (states may “refuse[] to comply with [a] request” to help administer federal

laws). The indictment here not only flies in the face of this settled precedent, it goes much

further; under the government’s theory, a state officer may be imprisoned for exercising that

right. Such a theory poses a profound threat to the constitutional balance, effectively “strip[ping]

local policy makers of the power to decide for themselves” whether to cooperate with the federal

government on an issue of national importance, City & Cty. of San Francisco v. Sessions, 349 F.

Supp. 3d 924, 951 (N.D. Cal. 2018); accord City of Chicago v. Sessions, 321 F. Supp. 3d 855,

869-872 (N.D. Ill. 2019), while threatening substantial prison time for not doing so.

       The government cannot reasonably argue that Court Officer MacGregor’s prosecution

rests on an allegation or theory that he actively obstructed the ICE investigation, rather than

merely remaining neutral, for multiple reasons. For one, as discussed above, the Tenth

Amendment does not merely require that states be allowed to remain neutral with respect to a




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federal scheme; it requires that states and their officers may “decline to administer” that scheme

altogether. New York, 505 U.S. at 176-77; accord Printz, 521 U.S. at 909-10. And, as the

government’s own allegations illustrate, the line between neutrality with respect to the federal

scheme and frustration of that scheme can be difficult to draw. According to those allegations,

Court Officer MacGregor faced a choice: he could either follow the alleged court officer custom

and practice and bring A.S. back upstairs to release him into the courtroom after meeting with his

attorney and interpreter and retrieving his property in lockup, or he could release him out of the

back sally-port door. Ind. ¶¶ 14-24. In such a circumstance – again, accepting the facts as alleged

in the indictment – the only way for a state officer like Court Officer MacGregor to exercise his

right to “decline to administer” federal immigration law, New York, 505 U.S. at 176-77, was to

allow A.S. to exit the rear sally-port door. Whether on the public street in front of the courthouse,

or the public street at the back, ICE was still able to enforce its detainer. The key difference is

that the egress in one direction arguably facilitated the ICE arrest, while the other direction is

alleged to have not. Nothing in state or federal law – or even the DHS Policies outlined in the

indictment – require a court officer in this situation to choose one manner of egress over another;

the government’s allegations instead rest upon alleged “custom and practice” used by court

officers in Newton District Court. Ind. ¶¶ 11-12.

       Basic principles of federalism require dismissal. Prosecuting a state court officer for

failing to aid the federal government in enforcing an immigration detainer fundamentally upsets

the historic “[r]espect for the independence of state courts” that courts have consistently

expressed. Michigan v. Long, 463 U.S. 1032, 1040 (1983). Under these basic principles, the

federal government may encourage, but it cannot compel or commandeer a state or its officials to

enforce federal priorities. New York, 505 U.S. at 167-69. At best, the federal government here




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expected Court Officer MacGregor to cooperate with ICE’s wishes. But an expectation enforced

by criminal law is the functional equivalent of an obligation. To permit the government to deploy

federal criminal law here is to enable it to do indirectly – by imposing criminal penalties – what

it cannot do directly: require state officials to fall in line with federal immigration policies.

        C.      As Applied Here, The Obstruction Statutes Are Unconstitutionally Vague

        Finally, at least as applied to Court Officer MacGregor, the obstruction of justice

statutes—18 U.S.C. §§ 1505 and 1512(c)(2)—are unconstitutionally vague. As the Court

emphasized just last year, vague laws “contravene the ‘first essential of due process of law’ that

statutes must give people ‘of common intelligence’ fair notice of what the law demands of

them.” Davis, 139 S. Ct. at 2325. To satisfy the due-process concern on which the vagueness

doctrine rests, “a penal statute [must] define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited.” Kolender v. Lawson, 461 U.S. 352,

357 (1983). The obstruction statutes, at least as applied to Court Officer MacGregor, fail that

test. Sections 1505 and 1512(c)(2) do not by their plain terms inform a state court officer that he

may be prosecuted by the federal government for simply failing to facilitate a person’s release

from the courtroom out the exit a federal officer expected; the government’s contrary reading of

the statutes all but ensures that “public officials [will] be subject to prosecution, without fair

notice, for the most prosaic” acts. McDonnell v. United States, 136 S. Ct. 2355, 2373 (2016).

For all of these reasons, the Court should decline to adopt the government’s boundless reading of

the obstruction statutes and dismiss the indictments against Court Officer MacGregor.

                                           CONCLUSION

        For the foregoing reasons, the indictment should be dismissed under Federal Rule of

Criminal Procedure 12(b) for failure to state an offense.




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Dated: September 6, 2019                           Respectfully submitted,

                                                   /s/Rosemary Curran Scapicchio

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              CERTIFICATE OF COMPLIANCE WITH LR 112.1 and LR 7.1



        I hereby certify that counsel have communicated about the subject matter of this motion
in an effort to narrow differences prior to filing.



                                              /s/ Rosemary Curran Scapicchio




                                 CERTIFICATE OF SERVICE



        I hereby certify that these documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies/PDFs will be sent by regular mail/email on this date to those indicated as non-
registered participants.



                                              /s/ Rosemary Curran Scapicchio




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